LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

                                                                           Exhibit A-1

                                           Preliminary Analysis of Infringement of U.S. Patent No. 6,703,963

       Princeps Secundus LLC (“Princeps”), owner of U.S. Patent No. 6,703,963 (the “’963 patent”) entitled “Universal Keyboard”, provides this
preliminary and exemplary infringement analysis with respect to infringement of the ’963 patent by LG Electronics Inc. and certain subsidiaries (“LG
Electronics” or “Defendant”).

        Defendant LG Electronics directly infringes the ’963 patent in violation of 35 U.S.C. § 271(a) by selling, offering to sell, making, using,
and/or importing instrumentalities which embody the claimed features of the patented invention. Princeps contends that based on currently available
information, Princeps is aware that LG Electronics, at a minimum, has sold, offered for sale, made, used, and/or imported at least the following
products and services: LG Electronics devices, such as the LG V50 ThinQ and LM-G850UM smartphones which operate using the Android
operating system (the “Accused Instrumentalities”). Current versions of these devices use a current version of the Android operating system,
shipping either with Android 9.0 “Pie” or “Android 10”. The Android operating system utilizes applications with infringing keyboard functions,
such as an LG Electronics proprietary app for messages also utilizing the LG Electronics “Smart Toolbar”.

        Unless otherwise noted, Princeps believes and contends that each element of each claim asserted herein is literally met through LG
Electronics’ provision of the Accused Instrumentalities. However, to the extent that LG Electronics attempts to allege that any asserted claim
element is not literally met, Princeps believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its
investigation and analysis of the Accused Instrumentalities sold, offered for sale, made, used, and/or imported by LG Electronics, Princeps did not
identify any substantial differences between the elements of the patent claims and the corresponding features of the Accused Instrumentalities, as set
forth herein. In each instance, the identified feature of the Accused Instrumentalities performs at least substantially the same function in substantially
the same way to achieve substantially the same result as the corresponding claim element.

         Princeps notes that the present claim chart and analysis are necessarily preliminary because Princeps has not received any discovery from LG
Electronics. Nor has LG Electronics disclosed any analysis in support of any purported non-infringement positions. Further, Princeps does not have
the benefit of claim construction or expert discovery. Princeps hereby specifically reserves the right to supplement and/or amend the positions taken
in this preliminary and exemplary infringement analysis, including with respect to literal infringement and infringement under the doctrine of
equivalents, if and when warranted by further information obtained by Princeps prior to or during the pendency of the litigation, including
information adduced through fact discovery, claim construction, expert discovery, and/or further analysis. Nothing in this preliminary and exemplary
infringement analysis constitutes an implicit or explicit proposal regarding the construction of any claim term or phrase.



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Note: Unless otherwise indicated, all internet sources last accessed and downloaded on January 30, 2020.
LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

LG Electronics – LG Devices with Universal Keyboard Technology
LG Electronics Inc. and its subsidiaries (“LG Electronics”) provides and sells devices, including the LG V50 ThinQ and LM-G850UM smartphones, with proprietary
and third-party applications and the Android operating system. The LG Electronics devices utilizes a universal keyboard technology with functional mode
controls, at least one domain control and a plurality of input keys associated with specific domain level values based on a selected functional mode. LG
Electronics’ universal keyboard technology utilizes function-specific displays indicating domain-level values for a selected functional mode and domain-level
combination. The input keys and the domain control are simultaneously presented by the LG Electronics phone and software. The universal keyboard
technology permits LG Electronics to provide a variety of keyboard and layout options to users of the LG Electronics devices.




The LG V50 ThinQ
Source: https://www.lg.com/us/mobile

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Note: Unless otherwise indicated, all internet sources last accessed and downloaded on January 30, 2020.
LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
  Indep.                                 LG Electronics provides and sells several models of smartphones as information input devices utilizing
   Cl. 1                                 various versions of the Android operating system:

   1-p      An information input
            device, comprising:




                                         “LG V40 ThinQ - As premium as LG currently goes”

                                         Source: https://www.techradar.com/news/best-lg-phones “Best LG phones 2020: finding the best LG
                                         phone for you” dated December 4, 2019.




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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
    1-a     a functional mode            In the LG Electronics devices running the Android operating system, the “functional mode control” can
            control for selecting a      be any icon for activating an installed application which relies upon a keyboard for accepting input
            first functional mode of     information data. Such applications can include applications that are proprietary to LG Electronics or
            operation of multiple        third-party apps which utilize a keyboard for accepting input data.
            functional modes of
            operation by the input       “Opening and Switching Apps
            device;                      Multi-tasking is easy with Android™ because you can use and switch among several open apps.
                                         Android™ manages each app, stopping and starting them as needed, to ensure that idle apps don’t
                                         consume resources unnecessarily.
                                         Opening an app
                                           Open an app simply by tapping its icon on the screen.
                                         TIP!
                                         You can customize your Home screen with the app icons you use most often. Apps are located on the
                                         Applications screen, but you can copy any app icon to your Home screen for faster, more convenient
                                         access. No matter where the icon is, on the Applications screen or your Home screen, just tap it to
                                         open and use it.
                                         Opening multiple apps
                                           Tap an app icon to open it.
                                           Tap the Home Key (in the Touch Keys bar).
                                           NOTE
                                           If the app icon you want is on your Home screen, simply tap the icon to open and use it.
                                           Tap the Apps icon (in the QuickTap bar).
                                           Tap the Apps tab (if necessary), then tap the icon for the other app you want to open.”

                                         Source: https://www.lg.com/us/mobile-phones/VS985/Userguide/066.html

                                         See also: https://www.lg.com/us/mobile-phones/VS450PP/Userguide/047.html “Opening an app”




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Note: Unless otherwise indicated, all internet sources last accessed and downloaded on January 30, 2020.
LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
                                         According to the patent, the functional mode control may also be used to set different functional
                                         modes of operation, such as for enabling different keyboards for character sets of different languages
                                         or different sets of symbols:




                                         Source: US Patent 6,703,963 (See column 4, lines 4-19)




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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
    1-b     a domain control for         The “domain control” in the LG Electronics keyboard includes the symbol for an Emoji appearing in the
            selecting one of multiple    “Smart Toolbar” as shown below. The symbol in the Smart Toolbar is activated by touching it on the
            domain levels within the     touch screen to control the “domain level” (i.e., the selection of a set of emoji symbols) associated
            first functional mode        with the selected symbol set at each domain level.
            wherein each domain
            level is associated with a
            set of domain-level
            values;




                                         “Entering text
                                         Using the Smart toolbar
                                         You can use various keyboard input methods in one place. You can select
                                         the desired input method from the top of the keyboard.
                                         1 Select the desired keyboard input method from the Smart toolbar.
                                         2 Tap, then touch and drag each tool to reorganize as desired.”

                                         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
                                         thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 71 (or 72 of 219 of full
                                         PDF).

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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement




                                         NOTE: The “Smart Tool” tool bar remains onscreen unless tapped to be hidden. The Emoji button
                                         provides access to the emoji domain with emoji selections.
                                         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
                                         thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 72 (73 of 219 of full
                                         PDF).



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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
                                         IN THE ALTERNATIVE:




                                         NOTE: “You can also tap “cog symbol” [to] Select languages on the keyboard.”

                                         The Settings symbol appears on the “Smart Tool” tool bar and provides access to domains containing
                                         character sets for other languages.


                                         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
                                         thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 77 (78 of 219 of full
                                         PDF).




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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
    1-c     a plurality of input keys,   On the LG Electronics keyboard, the character sets associated with domain levels for different
            separate and distinct        language character sets or emojis appear as input keys “separate and distinct” from the domain
            from the domain control,     control Emoji symbol (the “Smiley Face”)or the Setting symbol (the “Cog”) on the Smart Toolbar.
            assigned to the set of
            domain-level values
            associated with a
            selected domain level
            and functional mode,




                                         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
                                         thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 71 (or 72 of 219 of full
                                         PDF).

   1-d      wherein each input key       See 1-c above, showing that each input key transmits a signal having a value representative of a letter
            assigned to a domain-        in the alphabet of the country in the domain-level set for that respective country. These input keys are
            level value is associated    activated by pressing on the touchscreen of the LG Electronic device displaying the keyboard.
            with a signal,
            representative of the
            domain-level value,
            transmitted by the input
            device in response to        Also see https://emojipedia.org/lg/ for listings of available emojis.
            actuation of the input
            key; and



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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
    1-e     a function-specific          Each language (or symbol) specific keyboard presents a “function-specific display” of a character set
            display indicating a         inside an open App and associated with a specific language or a set of emojis depicting particular
            domain-level value           meanings to a user that are unique for a currently selected functional mode and domain level
            associated with each         combination. So for example, in the figure below, the functional mode includes the possibility of
            input key for a currently    choosing the English character domain in the LG Electronics proprietary messaging app:
            selected functional mode
            and domain level
            combination,




                                         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
                                         thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 71 (or 72 of 219 of full
                                         PDF).

    1-f     wherein the input keys       From 1-e above, it shows the touch-screen keyboard on the LG Electronics devices, the input keys
            and domain control are       character or emoji symbol buttons and the domain control buttons on the Smart Toolbar are
            simultaneously               simultaneously presented on the screen.
            presented by the input
            device.


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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
     2      The invention as in claim    See 1-p above, showing that the LG Electronics proprietary app is software which determines what
            1 wherein the domain-        domain-level value (i.e., character) is assigned to an input key associated with any functional mode and
            level value assigned to an   domain-level.
            input key is determined
            by software associated
            with each functional
            mode.

     9      The invention as in claim    LG Electronics devices, such as the LG V50 ThinQ, utilize touchscreens for data input:
            1 wherein each display is
            comprised of a touch         Source: https://www.sprint.com/content/dam/sprint/commerce/devices/lg/lg-v50-
            screen.                      thinq/documents/LM-V450PM_SPR_UG_Web_EN_V1.0_190425.pdf See page 50 (or 51 of 219 of full
                                         PDF).

  Indep.
   Cl. 60

   60-p     A method of operating an See 1-p above, users of the LG Electronics devices operate those devices as shown in 1-p above;
            information input device
            comprising

            one or more functional       See 1-a above;
            modes of operation

            having multiple domain       See 1-b above;
            levels selectable by a
            domain control,

            each domain level            See 1-c above;
            containing domain-level
            values, a plurality of
            input keys, separate and
            distinct from the domain
            control,
                                                                              11
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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement

            having domain-level          See 1-e above;
            values assigned
            according to a current
            functional mode of
            operation and current
            domain level and a
            display to indicate the
            domain-level values
            associated with the input
            keys, wherein the
            method comprises the
            steps of:

   60-a     first selecting a functional See 1-a above.
            mode of operation of the
            information input device;

   60-b     second selecting, through See 1-b above;
            the domain control, a
            domain level within the
            selected functional mode
            of operation; and




   60-c     actuating one or more of     See 1-c above;
            the input keys,
            associated with domain-
            level values
            corresponding to the
            domain level selected

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LG Electronics - claim chart with respect to U.S. Patent No. 6,703,963 (the ’963 patent)

 Claim      US Patent 6,703,963          Description of the Infringement
            during the second
            selecting step, and

   60-d     wherein the input keys       See 1-f above.
            and domain control are
            simultaneously
            presented by the input
            device.




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